      Case 3:13-cr-01528-AJB   Document 40    Filed 05/17/13   PageID.59             Page 1 of 1



                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNI\~t'W \ 1 f\H S:. 4&
                                                                 .) \ .n I



UNITED STATES OF AMERICA,                    CASE NO. 13CR1528 AjB

                      Plaintiff,                                        7/iJ1III'"

               vs.                           JUDGMENT OF DISMISSAL
JESUS OROZCO-ARROYO (3),

                      Defendant.


          IT APPEARING that the       fendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case aga   t     defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismis        the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant                 r a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Information:

     8:1326(a) - Removed Alien Found in the United States



          IT IS THEREFORE ADJUDGED that the         d~__~.             hereby discharged.


DATED: 5/16/13
                                             Karen S. Crawford
                                             U.S. Magistrate Judge
